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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  ROBERT L. CLARK,

             Petitioner,

  v.                                           Civil Action No. 5:05CV147
                                         (Criminal Action No. 5:04CR9-09)
  UNITED STATES OF AMERICA,                                       (STAMP)

             Respondent.


                        MEMORANDUM OPINION AND ORDER
                AFFIRMING AND ADOPTING MAGISTRATE JUDGE’S
              REPORT AND RECOMMENDATION THAT PETITIONER’S
            MOTION TO WITHDRAW PETITION TO VACATE SENTENCE
                 PURSUANT TO 28 U.S.C. § 2255 BE GRANTED,
                 GRANTING PETITIONER’S MOTION TO WITHDRAW
                PETITION TO VACATE, SET ASIDE, OR CORRECT
                  SENTENCE PURSUANT TO 28 U.S.C. § 2255,
                  DISMISSING PETITION TO VACATE SENTENCE
                       PURSUANT TO 28 U.S.C. § 2255,
           OVERRULING AS MOOT MAGISTRATE JUDGE’S REPORT AND
          RECOMMENDATION THAT PETITION TO VACATE, SET ASIDE,
           OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255
               BE DENIED AS TO TWO GROUNDS AND SETTING AN
   EVIDENTIARY HEARING AS TO THIRD GROUND, AND DEEMING AS GRANTED
      SECOND MOTION BY GOVERNMENT FOR EXTENSION OF TIME TO FILE
     RESPONSE TO PETITIONER’S PETITION TO VACATE, SET ASIDE, OR
             CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

                     I.   Facts and Procedural History

        On June 15, 2004, the petitioner, Robert L. Clark, signed a

  plea agreement by which he agreed to plead guilty to Count Thirty-

  Two of a forty-count indictment. Specifically, the petitioner pled

  guilty to aiding and abetting the possession with intent to

  distribute in excess of 500 grams of cocaine in violation of 21

  U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 18 U.S.C. § 2.           In the plea

  agreement, the parties stipulated to total drug relevant conduct of
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  between two kilograms and three and one-half kilograms of cocaine.

  The parties further agreed to a two-level enhancement pursuant to

  United States Sentencing Guideline § 2D1.1(b)(1) for possession of

  a firearm.     Additionally, the petitioner waived his rights to

  appeal and to collaterally attack his sentence.         Specifically, the

  petitioner’s    plea   agreement    contained   the   following    language

  regarding his waiver:

        11. Mr. Clark is aware that Title 18, United States
        Code, Section 3742 affords a defendant the right to
        appeal the sentence imposed. Acknowledging all of this,
        and in exchange for the concessions made by the United
        States in this plea agreement, if the Court finds that
        the applicable guideline is 30 or less then the defendant
        knowingly and voluntarily waives the right to appeal any
        sentence or the manner in which that sentence was
        determined on any ground whatever, including those
        grounds set forth in Title 18, United States Code,
        Section 3742. The defendant also waives his right to
        challenge his sentence or the manner in which it was
        determined in any collateral attack, including but not
        limited to, a motion brought under Title 28, United
        States Code, Section 2255 (habeas corpus), where the
        sentence is based upon a level 30 or less. If the Court
        departs upward or downward from the guideline range, the
        party opposing the departure has the right to appeal the
        departure. Otherwise than stated herein, in exchange for
        the defendant’s waiver, the United States waives its
        right to appeal. In the event that there would be an
        appeal, each party reserves the right to argue in support
        of the sentence.

        On June 24, 2004, the petitioner entered his plea in open

  court. The petitioner was 35 years old and a high school graduate.

  (Plea Hr’g Tr. 4.)     The petitioner stated he understood and agreed

  with all the terms and conditions of the plea agreement. (Hr’g Tr.

  11.) The Court specifically asked if the petitioner understood the


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  waiver of appellate and post-conviction rights.            (Hr’g Tr. 12.)

  The Court asked the petitioner’s counsel if he believed the

  petitioner understood the waiver of appellate and post-conviction

  relief rights.    (Hr’g Tr.    12-13.)   The Court then reviewed all the

  rights the petitioner was giving up by pleading guilty.           (Hr’g Tr.

  13-20.)    During the plea hearing, the government presented the

  testimony of Special Agent Robert L. Manchas of the United States

  Drug Enforcement Agency to establish a factual basis for the plea.

  (Hr’g Tr. 20-24.) The petitioner did not contest the factual basis

  for the plea.

        After the government presented the factual basis for the plea,

  the petitioner advised the Court that he was guilty of Count

  Thirty-Two of the indictment.       The petitioner further stated under

  oath that no one had attempted to force him to plead guilty, and

  that he was pleading guilty of his own free will.           (Hr’g Tr. 24.)

  In addition, he testified that the plea was not the result of any

  promises other than those contained in the plea agreement.            (Hr’g

  Tr. 24-25.)      The petitioner testified that his attorney had

  adequately represented him, and that his attorney had left nothing

  undone.    (Hr’g Tr. 25.)     Finally, the petitioner stated he was in

  fact guilty of the crime to which he was pleading guilty.             (Hr’g

  Tr. 26.)

        At the conclusion of the hearing, the Court determined that

  the plea was made freely and voluntarily; that the petitioner


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  understood the consequences of pleading guilty; and that the

  elements of Count Thirty-Two had been established.             (Hr’g Tr. at

  26.)       The petitioner did not object to the Court’s finding.

         On September 13, 2004, the petitioner appeared before the

  Court for sentencing. After considering several factors, including

  the circumstances of both the crime and the defendant, and the

  sentencing      objectives   of   punishment,   the   Court   sentenced   the

  petitioner to a term of seventy months of imprisonment.                   This

  sentence included a two-level enhancement for possession of a

  firearm.

         On September 8, 2005, the petitioner, appearing pro se,1 filed

  a petition to vacate, set aside, or correct a sentence by a person

  in federal custody pursuant to 28 U.S.C. § 2255.                  The Court

  referred the case to United States Magistrate Judge James E.

  Seibert pursuant to 28 U.S.C. § 636.             The government filed a

  response on January 12, 2006.2        On June 12, 2007, Magistrate Judge


         1
        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
         2
        On November 28, 2005, the Government filed a motion for an
  extension of time in which to file a response to the petitioner’s
  § 2255 petition.    The magistrate judge granted that motion on
  December 1, 2005.    The Government subsequently filed a second
  motion for an extension of time to file its response. That motion
  does not appear to have been adjudicated. However, the Government
  filed its response on January 12, 2006, and the magistrate judge’s
  report and recommendation on the merits of the petitioner’s § 2255
  petition refers to the Government’s arguments as set forth in its
  response. Accordingly, this Court deems as granted the Government’s
  second motion for an extension of the deadline for the filing of

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  Seibert entered a report and recommendation recommending that the

  petitioner’s § 2255 petition be denied as to two grounds of relief,

  namely (1) that the petitioner’s counsel was ineffective for not

  objecting to the two-point enhancement to the petitioner’s sentence

  for possession of a firearm, which the petitioner asserts was

  unconstitutional, and (2) that his counsel was ineffective for not

  objecting    to    the     mandatory   enhancements    that   were   arguably

  unconstitutional under Apprendi v. New Jersey, 530 U.S. 466 (2000),

  and Blakely v. Washington, 542 U.S. 296 (2004).                 However, the

  magistrate judge deferred making a recommendation as to the ground

  of relief asserting ineffective assistance of counsel for failure

  to appeal petitioner’s amended sentence, and instead, set an

  evidentiary hearing on that matter.         The petitioner was appointed

  counsel for the evidentiary hearing.

        In   his    report    and   recommendation,     the   magistrate   judge

  informed the parties that if they objected to any portion of his

  recommendation, they must file written objections within ten days

  after being served with a copy of his recommendation.            The parties

  filed no objections.

        Subsequently, the petitioner filed a motion to withdraw his

  § 2255 petition. Magistrate Judge Seibert, upon a finding that the

  petitioner’s decision to withdraw was made knowingly, voluntarily,

  and intelligently after consultation with counsel, issued a second


  its response.

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  report and recommendation recommending that the petitioner’s motion

  to withdraw his § 2255 petition be granted.

           The magistrate judge also informed the parties that any

  objections to the second report and recommendation must be filed

  in writing within ten days after the parties have been served with

  a copy of his recommendation.          The parties filed no objections to

  the magistrate judge’s second report and recommendation.               For the

  reasons set forth below, this Court will affirm and adopt the

  magistrate judge’s second report and recommendation recommending

  that the petitioner’s motion to withdraw his § 2255 petition be

  granted; will grant the petitioner’s motion to withdraw his § 2255

  petition; will dismiss the petitioner’s § 2255 petition; and will

  overrule as moot the magistrate judge’s report and recommendation

  that the § 2255 petition be denied as to two grounds and setting an

  evidentiary hearing as to the third ground.

                            II.    Standard of Review

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of   any   portion   of   the   magistrate   judge’s

  recommendation to which objection is timely made.                As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”           See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).          Because the petitioner did not file




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  objections, this Court reviews the report and recommendation for

  clear error.

                               III.     Discussion

        In his second report and recommendation, the magistrate judge

  specifically found that the petitioner made a knowing, voluntary,

  and intelligent decision to withdraw his § 2255 petition after

  consultation with his attorney. The petitioner was notified of his

  duty to file any objections with the Court in writing within ten

  days after the entry of the second report and recommendation.             No

  objections were filed.

        In the absence of any objections to the magistrate judge’s

  finding that the petitioner’s motion to withdraw was a knowing,

  voluntary, and intelligent decision which the petitioner made after

  consulting his attorney, this Court finds that the magistrate judge

  committed no clear error.           Therefore, this Court finds that the

  magistrate judge’s second report and recommendation should be

  affirmed and adopted in its entirety and that the petitioner’s

  motion   to   withdraw   his    §    2255   petition   should   be   granted.

  Accordingly, the petitioner’s § 2255 petition must be dismissed,

  and the magistrate judge’s first report and recommendation must be

  overruled as moot.

                                 IV.   Conclusion

        For the reasons set forth above, this Court AFFIRMS AND ADOPTS

  in its entirety the magistrate judge’s report and recommendation


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  recommending that the petitioner’s motion to withdraw his § 2255

  petition be granted (Doc.608).           Accordingly, the petitioner’s

  motion to withdraw his § 2255 petition (Doc.606) is GRANTED, and

  the petitioner’s § 2255 petition (Doc. 563) is DISMISSED.                The

  Government’s second motion for extension of time to file its

  response to the petitioner’s § 2255 petition (Doc. 571) is deemed

  GRANTED. Further, the magistrate judge’s report and recommendation

  recommending that the petitioner’s petition to vacate, set aside,

  or correct sentence under 28 U.S.C. § 2255 be denied as to two

  grounds and setting evidentiary hearing as to the third ground

  (Doc. 603) is OVERRULED as moot.         It is ORDERED that Civil Action

  No. 5:05CV147 be DISMISSED and STRICKEN from the active docket of

  this Court.

        Under Wright v. Collins, 766 F.2d 841, 845 (4th Cir. 1985),

  the petitioner’s failure to object to the magistrate judge’s

  proposed findings and recommendation bars the petitioner from

  appealing the judgment of this Court.

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to the pro se petitioner and to counsel of record

  herein.   Pursuant to Federal Rule of Civil Procedure 58, the Clerk

  is DIRECTED to enter judgment on this matter.




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        DATED:     July 3, 2008



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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